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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA

                        INITIAL APPEARANCE - REVOCATION
                                                       )      COURT MINUTES - CRIMINAL
United States of America,                              )              BEFORE: Tony N. Leung
                                                       )             U.S. MAGISTRATE JUDGE
                        Plaintiff,                     )
v.                                                     )   Case No:               20-cr-261 DSD/TNL
                                                       )   Date:                  November 24, 2021
Aditya Raj Sharma,                                     )   Video Conference
                                                       )   Time Commenced:        1:19 p.m.
                        Defendant.                     )   Time Concluded:        1:26 p.m.
                                                       )   Time in Court:         7 minutes
                                                       )
                                                       )
                                                       )

APPEARANCES:
 Plaintiff: Allen Slaughter, Assistant U.S. Attorney
 Defendant: Ryan Garry
                        X Retained

Date Charges Filed: 11/10/2021                         Offense: failed to report being served a restraining order

 X Advised of Rights

on   Violation of X Pre-trial Release

X Defendant released on previous conditions and additional conditions. Order forthcoming.


Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.

                                                                                                      s/ JAM
                                                                                Signature of Courtroom Deputy
